           Case 4:19-cr-40017-SOH Document 33                         Filed 07/17/20 Page 1 of 4 PageID #: 85
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                        UNITED STATES DISTRICT COURT
                                       Western District of Arkansas
                                                     )
              UNITED STATES OF AMERICA               )     JUDGMENT IN A CRIMINAL CASE
                         v.                          )
                                                     )
                                                     )     Case Number:         4:19CR40017-001
               HECTOR VAZQUEZ-CANO                   )     USM Number:          15453-010
                                                     )
                                                     )     Alex Wynn
                                                     )     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s) One of the Indictment on November 21, 2019.

    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

                                                                                                        Offense
Title & Section                  Nature of Offense                                                                              Count
                                                                                                         Ended
8 U.S.C. § 1326(a)               Reentry of Removed Aliens                                             07/19/2018                  1




       The defendant is sentenced as provided in pages 2 through            4        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

    The defendant has been found not guilty on count(s)

    Count(s)                                             is        are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                     July 16, 2020
                                                                     Date of Imposition of Judgment


                                                                     /s/ Susan O. Hickey
                                                                     Signature of Judge




                                                                     The Honorable Susan O. Hickey, Chief United States District Judge
                                                                     Name and Title of Judge


                                                                     July 17, 2020
                                                                     Date
              Case 4:19-cr-40017-SOH Document 33                                Filed 07/17/20 Page 2 of 4 PageID #: 86
AO 245B (Rev. 09/19)   Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                    Judgment — Page    2        of   4
 DEFENDANT:                    HECTOR VAZQUEZ-CANO
 CASE NUMBER:                  4:19CR40017-001

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:      twenty-four (24) months, with credit for time served in federal custody. There will be no term of
 supervised release to follow this term of imprisonment as it is anticipated that the defendant will be deported to his
 native country.



            The court makes the following recommendations to the Bureau of Prisons:
            That the term of imprisonment be served at FCI Seagoville, or other federal facility as close to Fort Worth, Texas, as
            possible.



            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
                at                                    a.m.         p.m.         on                                          .
                as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on                                            .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

 at                                                 , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL




                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
              Case 4:19-cr-40017-SOH Document 33                            Filed 07/17/20 Page 3 of 4 PageID #: 87
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                  Judgment — Page    3       of        4
 DEFENDANT:                         HECTOR VAZQUEZ-CANO
 CASE NUMBER:                       4:19CR40017-001
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                 Assessment                Restitution              Fine                    AVAA Assessment*               JVTA Assessment**
 TOTALS        $ 100.00                  $ 0.00                   $ 0.00                  $ 0.00                         $ 0.00


     The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                           Total Loss***                     Restitution Ordered                      Priority or Percentage




 TOTALS                         $                                     $

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          the interest requirement is waived for               fine        restitution.
          the interest requirement for                fine       restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
              Case 4:19-cr-40017-SOH Document 33                               Filed 07/17/20 Page 4 of 4 PageID #: 88
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                               Judgment — Page       4      of           4
 DEFENDANT:                 HECTOR VAZQUEZ-CANO
 CASE NUMBER:               4:19CR40017-001

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $          100.00                due immediately.

                 not later than                                     , or
                 in accordance with           C          D,          E, or           F below; or

 B         Payment to begin immediately (may be combined with                   C,           D, or         F below); or

 C         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                              over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                         Joint and Several                  Corresponding Payee,
      (including defendant number)                            Total Amount                         Amount                             if appropriate




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
 fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
 and court costs.
